             Case 2:17-cv-00670-JEO Document 1-1 Filed 04/26/17 Page 1 of 9                                FILED
                                                                                                  2017 Apr-26 PM 03:57
                                                                                                  U.S. DISTRICT COURT
                                                                                                      N.D. OF ALABAMA
                                      AlaFile E-Notice




                                                                        58-CV-2017-900310.00


To: JOSEPH BRYANT HORNSBY
    bhornsby@asilpc.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF SHELBY COUNTY, ALABAMA

                            KERRY E WILBANKS V. CMH HOMES INC.
                                    58-CV-2017-900310.00

                     The following complaint was FILED on 3/31/2017 1:18:45 PM




    Notice Date:    3/31/2017 1:18:45 PM




                                                                             MARY HARRIS
                                                                     CIRCUIT COURT CLERK
                                                                  SHELBY COUNTY, ALABAMA
                                                                      POST OFFICE BOX 1810
                                                                    112 NORTH MAIN STREET
                                                                     COLUMBIANA, AL, 35051

                                                                                  205-669-3760
                                                                       mary.harris@alacourt.gov
                                                         DOCUMENT 1
                                                                                                            ELECTRONICALLY FILED
                     Case 2:17-cv-00670-JEO Document 1-1 Filed 04/26/17 Page 23/31/2017
                                                                               of 9     1:18 PM
                                                                                                               58-CV-2017-900310.00
State of Alabama                                                                             Case Number: CIRCUIT COURT OF
                                             COVER SHEET                                                 SHELBY COUNTY, ALABAMA
Unified Judicial System
                                       CIRCUIT COURT - CIVIL CASE                            58-CV-2017-900310.00
                                                                                                     MARY HARRIS, CLERK
                                        (Not For Domestic Relations Cases)                   Date of Filing:            Judge Code:
Form ARCiv-93      Rev.5/99
                                                                                             03/31/2017

                                                GENERAL INFORMATION
                                  IN THE CIRCUIT COURT OF SHELBY COUNTY, ALABAMA
                                         KERRY E WILBANKS v. CMH HOMES INC.

First Plaintiff:       Business         Individual             First Defendant:         Business                Individual
                       Government       Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                                OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                   MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                     Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                        CVRT - Civil Rights
     TOWA - Wantonness                                       COND - Condemnation/Eminent Domain/Right-of-Way
     TOPL - Product Liability/AEMLD                          CTMP - Contempt of Court
     TOMM - Malpractice-Medical                              CONT - Contract/Ejectment/Writ of Seizure
     TOLM - Malpractice-Legal                                TOCN - Conversion
     TOOM - Malpractice-Other                                EQND - Equity Non-Damages Actions/Declaratory Judgment/
     TBFM - Fraud/Bad Faith/Misrepresentation                       Injunction Election Contest/Quiet Title/Sale For Division

     TOXX - Other:                                           CVUD - Eviction Appeal/Unlawful Detainer
                                                             FORJ - Foreign Judgment
TORTS: PERSONAL INJURY                                       FORF - Fruits of Crime Forfeiture
     TOPE - Personal Property                                MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TORE - Real Properly                                    PFAB - Protection From Abuse
                                                             FELA - Railroad/Seaman (FELA)
OTHER CIVIL FILINGS
                                                             RPRO - Real Property
     ABAN - Abandoned Automobile
                                                             WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     ACCT - Account & Nonmortgage
                                                             COMP - Workers’ Compensation
     APAA - Administrative Agency Appeal
                                                             CVXX - Miscellaneous Circuit Civil Case
     ADPA - Administrative Procedure Act
     ANPS - Adults in Need of Protective Service

ORIGIN:      F       INITIAL FILING                     A       APPEAL FROM                               O       OTHER
                                                                DISTRICT COURT

             R       REMANDED                           T       TRANSFERRED FROM
                                                                OTHER CIRCUIT COURT

                                                                     Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                   YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                      MONETARY AWARD REQUESTED                    NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
        HOR061                                  3/31/2017 1:18:17 PM                             /s/ JOSEPH BRYANT HORNSBY
                                            Date                                              Signature of Attorney/Party filing this form



MEDIATION REQUESTED:                            YES    NO      UNDECIDED
                                                DOCUMENT 2
                                                                                          ELECTRONICALLY FILED
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                                                                    of 9     1:18 PM
                                                                                           58-CV-2017-900310.00
                                                                                            CIRCUIT COURT OF
                                                                                        SHELBY COUNTY, ALABAMA
                                                                                          MARY HARRIS, CLERK
               IN THE CIRCUIT COURT OF SHELBY COUNTY, ALABAMA


KERRY E WILBANKS, an individual;                   )        JURY TRIAL IS REQUESTED
                                                   )
        Plaintiff,                                 )
                                                   )
vs.                                                )        CASE NO.: __________________
                                                   )
CMH HOMES, INC. a foreign                          )
corporation doing business in the state            )
of Alabama;                                        )

 [FICTITIOUS DEFENDANTS: No. 1, whether singular or plural, any entity which had the duty to maintain
the safe condition of the parking lot at the property/business in question; No. 2, any entity which had a duty
to warn and failed to warn, had a duty to issue and failed to issue or issued inadequate warning or
instructions, regarding the hazardous condition to Plaintiff at the property/business in question; No. 3, any
entity which had a duty to inspect the area in question for hazards, hidden defects or dangerous conditions
at the property/business in question; No. 4, any entity which allowed or caused the hazard condition in
question to manifest at the property/business in question; No. 5, whether any entity which provided general
liability or premises liability or medical payment coverage to the property/business in question; No. 6, any
entity which conducted safety inspections or analyses or provided consulting services pertaining to the area
in question at the property/business in question; No. 7, any entity which had a duty to insure or ensure the
safety and security of Plaintiff, while at the premises involved in the occurrence made the basis of this suit;
No. 8, any entity which was involved to any degree in providing safety and security to Plaintiff in
connection with the occurrence made the basis of Plaintiff’s complaint; No. 9, any entity which controlled
and/or had a duty to control the premises involved in the occurrence made the basis of this lawsuit at the
time of or at any time before said occurrence which caused injury and damage to Plaintiff; No. 10, any
entity which controlled or had the right to control the access or ingress and/or egress to the premises
involved in the occurrence made the basis of this lawsuit at the time of said occurrence; No. 11, any entity
other than those entities described above whose negligence, wantonness, willfulness, or other wrongful
conduct caused or contributed to cause the occurrence made the basis of this lawsuit; No. 12, any entity
which reinsured or provided excess coverage for said premises; No. 13, any entity which is the successor
in interest of any of those entities described herein; No. 14, being that person, firm, partnership or
corporation who contracted with any named defendant to provide training or supervision of its employees
in the proper maintenance of its premises as alleged herein; No. 15, being that person, firm, partnership or
corporation who owned or operated the premises causing the injuries to Plaintiff as alleged in the complaint;
No. 16, being that person, firm, partnership or corporation who contracted to any named defendant to
provide training or supervision to its employees in the proper maintenance of its premises as alleged herein;
No. 17, being the person, firm, partnership or corporation who is a successor or predecessor in interest to
any named or fictitiously identified defendant; No. 18, being the person, firm, partnership or corporation
charged with the overall hiring, training and supervision of the employees or contractors who or which were
charged with the duty or contracted to assume said duty of cleaning, inspecting, maintaining, and operating
the parking lot of the premises in question and at issue in this lawsuit and whose breach of duty caused or
contributed to cause the injuries and damages to Plaintiff, as alleged in this lawsuit; Plaintiff avers that the
identities of the Fictitious Party Defendants are otherwise unknown to Plaintiff at this time, or if their names
are known to Plaintiff at this time, their identities as proper party Defendants are not known to Plaintiff at
this time, but their true names will be substituted when ascertained],
                                            DOCUMENT 2
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       Defendants.                               )

                                           COMPLAINT


                                             PARTIES

       1.       Plaintiff, Kerry E Wilbanks (hereinafter referred to as “Plaintiff”), is an individual

over the age of nineteen (19) years and is a resident of Shelby County, Alabama.

       2.       Defendant, CMH Homes Inc. (hereinafter referred to as “Defendant CMH Homes”

or only together with Fictitious Defendants as “Defendants”), is a foreign corporation d/b/a

Clayton Homes of Clanton, AL who operates at 2101 Holiday Inn Drive, Clanton, AL 35046.

       3.       Fictitious Defendants, described above as numbers one (1) through eighteen (18), are

those persons or entities whose names will be substituted upon learning their true identities.

                                   FACTUAL BACKGROUND

       4.       On or about the 27th day of October, 2015, Plaintiff tripped and/or slipped on

several pieces of vinyl siding at night that were laying in his front yard in close proximity to his

front door. Defendants failed to remove and/or move excess pieces of vinyl siding that were left

in Plaintiff’s walking path to his front door.

       5.       Defendants negligently, recklessly, and/or wantonly caused or allowed Plaintiff to

fall and suffer injuries and damages to Plaintiff’s person by failing to remove and/or move the

vinyl siding thus creating a hazardous condition to plaintiff. Defendants had actual or constructive

notice and/or were delinquent in not discovering and repairing the hazardous condition, and were

negligent and/or wanton in allowing or affirmatively creating a hazard by allowing the hazardous

condition to remain in the area in question which was in the path of the Plaintiff; further, the

Defendant was negligent and/or wanton in creating or not repairing a hazardous condition in the

path of the Plaintiff and did not provide adequate warning to Plaintiff.




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       6.       As a proximate and direct result of Defendants’ wrongful conduct as specifically

set forth hereinafter, Plaintiff has been injured and damaged as follows:

             a. Plaintiff suffered injuries to various portions of plaintiff’s body;

             b. Plaintiff was caused and will be caused in the future to expend sums of money in

                the nature of doctor, hospital, drug any other medical expenses in and about an

                effort to heal and cure said injuries;

             c. Plaintiff has experienced and continues to experience pain and suffering and is

                reasonably certain to experience pain and suffering in the future;

             d. Plaintiff was temporarily and potentially permanently unable to pursue usual and

                normal activities.

             e. Plaintiff was caused to incur aggravation and/or exacerbation to then existing

                conditions that Plaintiff either did or did not know of at the time of this incident;

             f. Plaintiff has experienced and continues to experience mental anguish;

             g. Plaintiff is reasonably certain to experience mental anguish in the future;

             h. Plaintiff was caused to incur out-of-pocket medical expenses;

                                     COUNT I - NEGLIGENCE

       7.       Plaintiff hereby re-alleges and re-avers all of the allegations contained in the

preceding paragraphs of this Complaint the same as if here again set out in both letter and number.

       8.       As described in the Factual Background above, on the 27th day of October, 2015

Plaintiff tripped and/or slipped on several pieces of vinyl siding at night that were laying in his

front yard in close proximity to his front door. Defendants failed to remove and/or move excess

pieces of vinyl siding that were left in Plaintiff’s walking path to his front door.




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       9.       Defendants negligently caused or allowed Plaintiff to fall and suffer injuries and

damages to Plaintiff’s person by failing to remove and/or move the vinyl siding thus creating a

hazardous condition to plaintiff. Defendant’s had actual or constructive notice and/or were

delinquent in not discovering and repairing the hazardous condition, and were negligent in

affirmatively creating a hazard or not warning the Plaintiff of said hazardous condition that was

situated in a dangerous area and/or location inasmuch as it was located in an area that was regularly

traveled by Plaintiff. Further, Defendant(s) were negligent in failing to warn Plaintiff of this

dangerous condition that existed on his premises that was a hazard to the Plaintiff.

       10.      As a proximate and direct result of Defendants’ wrongful conduct as specifically

set forth hereinafter, Plaintiff has been injured and damaged as described above, herein.

       WHEREFORE, premises considered, Plaintiff respectfully demands judgment against

Defendants, jointly and severally, for compensatory and punitive damages, in an amount, including

interest and the costs of this action, which Plaintiff seeks to recover, to be assessed by the trier of

fact for all claims under this lawsuit.

                    COUNT II – RECKLESSNESS AND WANTONNESS

       11.      Plaintiff hereby re-alleges and re-avers all of the allegations contained in the

preceding paragraphs of this Complaint the same as if here again set out in both letter and number.

       12.      As described in the Factual Background above, on the 27th day of October, 2015

Plaintiff tripped and/or slipped on several pieces of vinyl siding at night that were laying in his

front yard in close proximity to his front door. Defendants failed to remove and/or move excess

pieces of vinyl siding that were left in Plaintiff’s walking path to his front door.

       13.      Defendants wantonly and/or recklessly caused or allowed Plaintiff to fall and suffer

injuries and damages to Plaintiff’s person by failing to remove and/or move the vinyl siding thus




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creating a hazardous condition to plaintiff. Defendant’s had actual or constructive notice and/or

were delinquent in not discovering and repairing the hazardous condition, and were wanton and/or

reckless in affirmatively creating a hazard or not warning the Plaintiff of said hazardous condition

that was situated in a dangerous area and/or location inasmuch as it was located in an area that was

regularly traveled by Plaintiff. Further, Defendant(s) were wanton and/or reckless in failing to

warn Plaintiff of this dangerous condition that existed on his premises that was a hazard to the

Plaintiff.

        14.      As a proximate and direct result of Defendants’ wrongful conduct as specifically

set forth above, Plaintiff has been injured and damaged as described above, herein.

        WHEREFORE, premises considered, Plaintiff respectfully demands judgment against

Defendants, jointly and severally, for compensatory and punitive damages, in an amount, including

interest and the costs of this action, which Plaintiff seeks to recover, to be assessed by the trier of

fact for all claims under this lawsuit.

                  COUNT III – NEGLIGENT, RECKLESS, AND WANTON
                            SUPERVISION AND TRAINING

        15.      Plaintiff hereby re-alleges and re-avers all of the allegations contained in the

preceding paragraphs of this Complaint the same as if here again set out in both letter and number.

        16.      As described in the Factual Background above, on the 27th day of October, 2015

Plaintiff tripped and/or slipped on several pieces of vinyl siding at night that were laying in his

front yard in close proximity to his front door. Defendants failed to remove and/or move excess

pieces of vinyl siding that were left in Plaintiff’s walking path to his front door.

        17.      Defendants were under an obligation and duty to train and supervise their

employees to remedy any dangerous or hazardous conditions which were not readily discoverable

by their customers.



                                                 -5-
                                            DOCUMENT 2
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       18.     Defendants negligently, wantonly, and recklessly failed to properly train employees

to inspect and to keep the property free and clear of dangerous conditions. Defendants’ failure to

properly train its employees directly resulted in Plaintiff’s injuries as described herein.

       19.     As a direct and proximate consequence of Defendants’ negligent, reckless and

wanton training and supervision, Plaintiff was injured and damaged as described above, herein.

       WHEREFORE, premises considered, Plaintiff respectfully demands judgment against

Defendants, jointly and severally, for compensatory and punitive damages, in an amount, including

interest and the costs of this action, which Plaintiff seeks to recover, to be assessed by the trier of

fact for all claims under this lawsuit.

                                               Respectfully Submitted,


                                               /s/ J. Bryant Hornsby
                                               J. Bryant Hornsby (HOR061)
                                               Attorney for Plaintiff

OF COUNSEL:

SHUNNARAH INJURY LAWYERS, P.C.
3626 Clairmont Avenue
Birmingham, Alabama 35222
Phone:       (205) 983-8155
Facsimile:   (205) 983-8455
Email:       bhornsby@asilpc.com




Plaintiff’s Address:

Kerry E Wilbanks
c/o J. Bryant Hornsby
Shunnarah Injury Lawyers, P.C.
3626 Clairmont Avenue
Birmingham, AL 35222




                                                 -6-
                                    DOCUMENT 2
         Case 2:17-cv-00670-JEO Document 1-1 Filed 04/26/17 Page 9 of 9




PLEASE SERVE DEFENDANT VIA CERTIFIED MAIL AS FOLLOWS:

CMH Homes Inc.
c/o CT Corporation System
2 North Jackson Street, Suite 605
Montgomery, AL 36104




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